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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             Case No.: 1:17-cv-22375-COOKE/GOODMAN

  VOIT TECHNOLOGIES, LLC,

          Plaintiff,

  vs.

  JC BATH CORPORATION,

          Defendant.
                                                 /

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          PLEASE TAKE NOTICE that, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), VOIT

  Technologies, LLC (“VOIT”) and JC Bath Corp. (“JC Bath”) (VOIT and JC Bath together, the

  “Parties” and each a “Party”) agree and stipulate to the dismissal of this action, including all

  claims and counterclaims, with prejudice. Each Party shall bear its own costs and attorneys’

  fees.   Consistent herewith, the Parties consent to the Court having this case closed for

  administrative purposes.




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  Dated: January 12, 2018.

  Respectfully submitted,                       Respectfully submitted,

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                                                Counsel for JC Bath Corp.



                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on January 12, 2018, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF and that service was perfected on all
  counsel of record and interested parties through this system and via email.

                                                 By:     /s/ David Tamaroff
                                                         David F. Tamaroff, Esq.




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